             Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 1 of 32




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF VERMONT

       *************************************
       SCOTT TRAUDT,                       *
       Plaintiff                           *
                                           *
       v.                                  *              Docket Number: 2:24-cv-782
                                           *              JURY TRIAL DEMANDED
       ARI RUBENSTEIN                      *
       Defendant                           *              1st Amended Complaint
                                           *
       GTS SECURITIES LLC                  *
       GTS EQUITY PARTNERS LLC             *
       GTS EXECUTION SERVICES LLC          *
       Defendant                           *
                                           *
       CHARLES W. SCHWAB AND CO. INC. *
       SCHWAB HOLDINGS, INC.               *
       Defendant                           *
                                           *
       FINANCIAL INDUSTRY                  *
       REGULATORY AUTHORITY                *
       Defendant                           *
                                           *
       GARY GENSLER                        *
       US SECURITIES AND EXCHANGE          *
       COMMISSION                          *
       Respondent                          *
                                           *
       *************************************

        PLAINTIFF TRAUDT’S REPLY MEMORANDUM OF LAW IN OPPOSITION
         TO DEFENDANT FINRA’S MEMORANDUM OF LAW IN OBJECTION TO
            PLAINTIFF’S MOTION FOR EXPEDITED LIMITED DISCOVERY


I.     Preliminary statements

       Traudt submits this memorandum in reply to Defendant Financial Industry Regulatory

Authority’s (“FINRA”) 30 August 2024 opposition to Traudt’s “Motion for Expedited Limited

Discovery.” As FINRA has introduced its supposed “absolute immunity” status in its

memorandum in opposition to Traudt’s motion, Traudt addresses it here in part.

                                                                                            1
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 2 of 32




       FINRA has no absolute immunity and in fact its “self-regulatory organization” (“SRO”)

status and mandate to work under the Securities and Exchange Commission (“SEC”) is an

unconstitutional delegation of authority from Congress under Article II, Clause 1 of the US

Constitution in that as a private organization its role and function with near dictatorial, non-

appealable control of the US financial markets coupled with its unappointed, privately employed

officers exercising the authority of the Executive Branch is totally beyond the pale from a

Constitutional perspective. FINRA should be, via Permanent Injunction, relieved of these duties

and suffer a winding down in all activities, a cessation of regulatory enforcement, a freezing of

its assets for distribution to aggrieved parties harmed in the illegal MMTLP U3 trading halt, and

its operations and duties returned to the Securities and Exchange Commission (“SEC”) in proper

compliance with the Appointments Clause of the US Constitution.

       In the instant matter, FINRA’s well documented regulatory Pearl Harbor on shareholders

of MMTLP (in the same position as Traudt) on 8-9 December 2022 was preceded by and

continues to manifest itself in rampant abuses involving “dark pool” tradings,1 unlimited and

unchecked “naked shorting” that has played a role in compromising the integrity of the US stock

market that it is leading to a banking crisis,2 allowed for the fraud and grift on Wall Street to

reach levels such that the entire world is now moving to an alternative international trading



       1
         Over the past three years, just one company on the US exchanges (AMC Entertainment)
       has seen a significant portion of its trading conducted through dark pools. On average,
       around 60-65% of AMC's daily trading volume has been routed through dark pools (off
       exchange alternative trading systems). Dark pool activity is synonymous with obscuring
       price movements and preventing the stock's true value from reflecting accurately in the
       public market, and functions largely as a means of allowing “whale” investors and
       institutions to control the price of a stock.
       2
         Unfilled “short” positions are often used in trading strategies by massive financial
       institutions; FINRA has allowed market makers to print unlimited computerized “nothing
       but air” shorts that create a debt bubble as interest rates rise, assets depreciate, and the
       dollar fades.
                                                                                                    2
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 3 of 32




network (BRICS)3 specifically designed by those countries to escape inter alia the gravity well

that will occur when the US banking and finance system implodes under the twin black holes of

dollar devaluation and the simple, well understood corruption of the US stock markets via the

trillions in naked shorts hanging like a nuclear-tipped Sword of Damocles over the entire US

economy.4




       3
         BRICS (so named for its founding members Brazil-Russia-India-China-South Africa) is
       an organization comprising the original five nations and now includes Iran, Egypt,
       Ethiopia, the United Arab Emirates, and soon Turkey. Originally identified to highlight
       investment opportunities, the grouping evolved into an actual geopolitical bloc, with
       their governments meeting annually at formal summits and coordinating multilateral
       policies since 2009.
       4
         In 2023 and 2024, several countries imposed or tightened restrictions on short selling to
       stabilize their financial markets in response to heightened volatility and economic
       challenges. China took decisive action through the China Securities Regulatory
       Commission (CSRC). In October 2023, the CSRC suspended securities lending for A
       shares placed in IPOs, and in January 2024, extended the ban to all A shares with lock-up
       restrictions. Additionally, from March 2024, the CSRC introduced a T+1 rule, preventing
       immediate resale of borrowed shares, aimed at curbing speculative trading. The move
       came after prolonged market declines and investor concerns about instability. Thailand
       followed suit, with the Stock Exchange of Thailand (SET) banning naked short selling
       and increasing fines for rule violations. In 2024, the SET began pursuing legal reforms to
       target individuals involved in illegal short selling, not just securities firms. The Thai
       government prioritized these reforms to restore investor confidence after significant
       market losses in 2023, with short-selling practices being linked to the country's market
       slump. US SEC personnel visited Thailand recently (summer, 2024) where it would
       appear from all outward appearances the buddhist Thai regulators had a “come to Jesus”
       (things are that bad) meeting with their American counterparts regarding the naked
       shorting in the US markets. South Korea also tightened short selling rules, aiming to level
       the playing field for investors. The country raised margin requirements and increased
       transparency requirements for institutional and foreign investors while easing restrictions
       slightly for retail investors. Meanwhile, the United Kingdom is reforming its short-selling
       regulations as it adjusts post-Brexit. In the European Union, short selling continues to be
       heavily regulated under the EU Short Selling Regulation (SSR). EU member states
       maintain stringent rules on transparency, including heightened reporting requirements for
       net short positions. National authorities have intervention powers to impose short-term
       bans in cases of market turbulence, ensuring that short selling does not unduly exacerbate
       market instability. Across these regions, governments and financial authorities are
       enacting these measures to mitigate market disruptions and protect investor confidence in
       a time of global economic uncertainty. These restrictions reflect a broader concern that
                                                                                                  3
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 4 of 32




       Article II specifically insured that there would be a clear separation of powers where

citizens would know who exactly was behind decisions effecting their lives. FINRA’s

occupation of the regulatory space as a private actor violates the separation of powers in the

branches mandated by the Constitution. As can be seen from the surfeit of arguments

propounded opposing Traudt’s preservation and expedited discovery motions, FINRA’s position

is loosely akin to the “Divine Right of Kings” in the way it treats those pesky American peasants

silly enough to believe that “might does not make right.”

       There is nowhere in US law or the Congressional record specifically mandating any

claim of immunity by FINRA; it’s immunity is clearly and undeniably a judicial construct that

the US Supreme Court just dispensed with in Loper Bright Enterprises v. Raimondo (US

Supreme Ct. #22-451, 2024) for the simple reason its immunity is an absolutist position, is a

significant public policy, and is not an administratively minor “filling in the gaps” policy

decision made by bureaucrats.

       More tellingly, FINRA does not look long nor in depth at the recent US Supreme Court

cases reining in the regulatory state nor does it vary from that lack of awareness regarding the 5th

and D.C. Circuits’ recent decision enforcing Article II not just on FINRA and the SEC, but most

recently on the Federal Communications Commission (“FCC”).

       There were only two U3 trading halts ever instituted by FINRA in the US markets prior

to MMTLP. None of those involved securities as per Traudt’s complaint that were subject to the

madness MMTLP was: illegally started in trading with the knowledge of FINRA regulators;

were allowed to trade in Defendant Charles Schwab and Co.’s (“Schwab”) accounts prior to




       unchecked short selling can amplify downward market trends, leading to destabilizing
       effects on financial markets.
                                                                                                   4
               Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 5 of 32




official trading; were subject to a (twice!) rewrite of its corporate action with terms and

conditions in the corporate action never seen in over 967 prior corporate actions reviewed and

issued by FINRA; had given advance notice to Defendant Charles Schwab and Co. (“Schwab”)

on the last day of trading that it would be closed for trading the next day; had direct statements

under oath from Traudt that a Schwab broker had admitted Schwab had requested the trading

halt to protect their own interests; that MMTLP was trading at “100 times” the price on the “lit”

market…etc…etc…

        Traudt’s motion for a preservation order was referenced by FINRA in the memorandum

Traudt is replying to herein. FINRA gets the 2nd Circuit’s holdings wrong in being so dismissive

as to the priority Traudt places on both motions. In Plaintiff Traudt’s Motion for a

Preservation order Pursuant to FRCP 26(c) (“Preserve”) the motion is to be seen as a

motion for injunctive relief as per 2nd Circuit jurisprudence. In United States v. Davis, 767 F.2d

1025 (2d Cir. 1985), the court held that a motion for a protective order under Rule 26(c) of the

Federal Rules of Civil Procedure is functionally equivalent to a motion for a preliminary

injunction because both seek to restrain certain actions temporarily pending a final determination

of the issues in the case.

        FINRA initially attributed the U3 halt to a “coding error” then backpedaled and then

created two self-serving frequently asked questions (“FAQ”) public relations pieces which, if

introduced in this matter under oath by FINRA officers would constitute perjury for the

deliberate misrepresentations contained therein.5 (Traudt made multiple references in his 1st

Amended Complaint to FINRA CEO Robert Cook doing quite the same for playing “fast and




        5
         On 16 February 2023, FINRA began trail ballooning that the MMTLP U3 halt was a
        “D-1” halt due to a “coding error.” (See Appendix A)
                                                                                                     5
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 6 of 32




loose” with the facts responding to the Congressional letters and hearing questions in his 24

January 2024 letter to Rep. Ralph Norman.6) So much for FINRA’s claims here that Traudt’s

complaint is full of conclusory allegations; more than 60 Congressman and Senators signed

letters requesting explanations for the series of unprecedented events surrounding FINRA’s

naked move to protect the apex predators of the US financial system who were oversold in or

naked shorted MMTLP and stood to be devastated in the last two days of trading that FINRA

obliterated with the U3 halt.

       It is laughable that FINRA claims it could be overly burdened by producing the

bluesheets and that – this is high hilarity – Traudt is “weaponizing” the discovery process. Traudt

has asked for bluesheet data already assembled by FINRA in the first part of his request along

with outgoing and incoming emails to FINRA Fraud Officer Sam Draddy. Additional documents

were simply follow on bluesheet data for two different dates: close of trading on 8 December

2022 at 3:59:59pm, and again on 15 August of 2024 for the same data to show that MMTLP is

still trading as the numbers would be reduced under Traudt’s theory of the case. The SEC and

FINRA have in all likelihood already generated the blue sheets for MMTLP in preparation for

the civil case of Securities and Exchange Commission v. John Brda and Georgios Palikaras, No.

1:24-cv-04806.




       6
         The law that criminalizes lying to Congress is 18 U.S.C. § 1001, which makes it illegal
       to knowingly and willfully provide false statements to any branch of the federal
       government, including Congress. Under this statute, individuals can face criminal
       penalties, including fines or imprisonment, for making false statements, concealing
       information, or submitting fraudulent documents in any matter within the jurisdiction of
       the federal government.
                                                                                                   6
               Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 7 of 32




       FINRA Fraud Officer Sam Draddy (“Draddy”) was emailed on 12 July 2024 by Traudt

pursuant to FRCP 27 that he would seek the bluesheets in anticipation of litigation. (See

Appendix B).

       As for FINRA’s claims of lack of personal jurisdiction, they function nationally as an

(albeit) unconstitutional exercise of private actor over an enormous swath of the US economy.

They are currently subject to personal jurisdiction in Florida in a case related to the same trade

halt at issue here, but involving the TradeStation broker that has admitted it oversold MMTLP

(so much for FINRA’s claims that Traudt’s facts and details are “conclusory allegations”).

       Traudt readily admits service of process was difficult and in fact multiple attempts to

reduce litigation costs (FINRA’s counsel has argued to save costs, and Traudt does agree) by

contacting Defendants by phone and email failed and Traudt served process through agents or

known corporate or administrative locations. In addition, Traudt admits that the subpoenas

should have gone out after the discovery order was done, but misread FRCP 45. Traudt did alert

all defendants with copies of all 6 subpoenas that went out, and after recognizing the error called

or sent letters to the subpoena recipients alerting them to their prematurity. In one case (Hilltop

Securities - “Hilltop”) responded back (via email on 27 August 2024) stating it had evidence

responsive to Traudt’s subpoena. Traudt called counsel on 29 August 2024 and informed Hilltop

to hold what they had and to NOT submit it to Traudt. (See Appendix C).

       Finally, FINRA’s characterization of Traudt being a “weaponizer” flies in the face of

Traudt’s motions: he is not seeking to have any documents given to him at this stage, merely to

protect what will be needed to prove his case and to get delivered for in camera review as

necessary to this court the narrow, focused, simple discovery of his motion for expedited

discovery.



                                                                                                      7
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 8 of 32




II.    FINRA has zero immunity and is operating in violation of the Appointments Clause
       of the US Constitution Article II, Clause 2.

       FINRA raised the use of its infamous “absolute immunity” defense in its memo so Traudt

will attack it now. It’s long overdue for this instinctively corrupt chimera of private corporate

interests slavishly doing the bidding of the apex predators on Wall Street and other financial

centers to be recognized for what it is: the modern incarnation of the British crown corporations

(such as the Hudson Bay Company). This was co-despotic with the appointment of Crown

officers and military officials to oversee the colonials. Our seditious American forebears

eventually chose to engage the British over these and other issues at Namquid (now Gaspee)

Point, Rhode Island in the Battle of the Gaspee (June, 1772), followed later by the 19 April 1775

fireworks in Lexington, Massachusetts, setting the stage for creating what President Abraham

Lincoln would later refer to as “that government of the people, by the people, for the people…”

in his 19 November 1863 Gettysburg Address.7




       7
         Contrary to the history taught by the Massachusetts/Virginia-centric history books, the
       first shots of the US Revolutionary War were fired by Rhode Island sailor Joseph Bucklin
       who, after the packet sloop Hannah lured HMS Gaspee, a British revenue enforcement
       vessel notorious for its heavy hand in crushing Rhode Island trade so that British
       companies could benefit, onto the shoals of Namquid Point. Once Gaspee ran aground,
       Hannah’s intrepid crew sailed north to Providence, enlisted local merchants, Indians, and
       others to take long boats with them and row out to Gaspee to destroy her. In the first
       shots of the US Revolutionary War, Captain William Duddington (RN), was shot in the
       groin by Bucklin, an event that was by most historians considered the first shot of the US
       Revolutionary War where American insurgents attacked armed British military personnel
       and concomittantly set the standard for violence of action, speed, and audacity that would
       come to typify the exploits of the US Navy in the future. Gaspee was burned to the
       waterline, then blew up spectacularly. The Rhode Islanders celebrated the victory with
       drunken revelry and, in what would become the trademark for Rhode Islanders for
       generations, managed to keep their mouths shut collectively when the Crown came down
       with a full-court press terror campaign in Rhode Island to find out who destroyed one of
       the Crown’s warships. (Well, except for one of the Gaspee raiders who would march
       across one of Providence’s bridges wearing Capt. Duddingston’s captured jacket on the
       somewhat regular occasion of his intoxication.)
                                                                                                    8
               Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 9 of 32




       Indeed, the US Supreme Court noted this capacity for abuse in appointing officers in

Freytag v. Comm’r, 501 U.S. 868 (1991), holding that “[T]he ‘manipulation of official

appointments’ had long been one of the American revolutionary generation’s greatest grievances

against executive power... because ‘the power of appointment to offices’ was deemed ‘the most

insidious and powerful weapon of 18th century despotism.’”8

       This contempt for what FINRA is and is doing is exactly what formed part of the

Declaration of Independence. Paragraph 12 could be describing FINRA (or any of the US

government’s alphabet agencies at this point). Paragraph 12 reads that the King “has erected a

multitude of New Offices, and sent hither swarms of Officers to harass our people, and eat out

their substance.”9

       For these reasons and others, the Appointments Clause was incorporated into the

Constitution to prevent the privatization of government and to ensure the accountability of public

officials executing US government policy.

       Congress is not permitted by the Constitution to abdicate, or to transfer to others, the

essential legislative functions with which it is vested. Art. I, § 1; Art. I, § 8, par. 18. Panama

Refining Co. v. Ryan, 293 U.S. 388. P. 529. A.L.A Schechter Poultry Corp. v. United States 295

U.S. 495.

       In Buckley v. Valero, 424 U.S. 1 (1976), the Supreme Court considered challenges to the

Federal Elections Campaign Act of 1971. The manner of appointing commissioners to the then

newly created Federal Election Commission was to have the Speaker of the House choose two,

two by the president pro tem of the Senate, and two by the President. All appointments required



       8
         Freytag, 501 U.S. 883 (quoting Gordon S. Wood, The Creation of the American
       Republic, 1776-1787, at 79 (1969)).
       9
         The Declaration of Independence para 12 (U.S. 1776).
                                                                                                     9
                Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 10 of 32




confirmation by Congress. The court’s procedural analysis considered the structure of the FEC in

light of the Appointments Clause and found it to be unconstitutional. Noting that there is “no

provision of the constitution remotely providing any alternative means for the selection of the

members of the Commission or for anybody like them,” the court concluded that the FEC

commissioners themselves must be subject to the Appointments Clause requirements. This is

directly on point with Traudt and Traudt’s contention that FINRA is operating illegally not just

because it violates the non-delegation clause and the separation of powers innately contained in

the Appointments Clause but because the chairman of FINRA, Robert Cook, and all of the

executive officers of FINRA, were appointed by the board of directors of FINRA and not by an

act of the US government or an invocation of the Appointments Clause. His position clearly

necessitates an appointed officer of the US – assuming here arguendo that FINRA itself is even

Constitutionally based (which Traudt argues it isn’t.)

       The Buckley court went much further. The court conducted the more substantive analysis

of the specific powers and duties granted to the FEC commissioners. The court determined that

some of those powers were of the kind that could “be discharged only by persons who are

‘Officers of the United States’ within the language of the Appointments Clause.” Since some of

those powers granted to FEC commissioners were only available to Officers of the United States,

those provisions of the act, the court opined, “violate the appointments clause.”10

III.   Recent caselaw holds that FINRA officers exercise unconstitutional power

       In Alpine Sec. Corp. v. FINRA, No. 23-5129 (2023), the D.C. Circuit took great

constitutional issue with FINRA’s unappointed officers:




       10
            Id., at 140.
                                                                                                  10
               Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 11 of 32




       To ensure that the executive power remains with the President, the Constitution puts

limits on those who exercise it on the President's behalf. Anyone who "wield[s] significant

executive power" must be an Officer of the United States. See Buckley v. Valeo, 424 U.S. 1, 126,

96 S. Ct. 612, 46 L. Ed. 2d 659 (1976). Those officers must generally be removable by the

President or an officer subordinate to the President. See Seila Law LLC v. CFPB, 140 S. Ct.

2183, 2211, 207 L. Ed. 2d 494 (2020) (principal officers must be removeable by the President).

And they must be appointed by an appropriate government body under the Appointments Clause.

U.S. Const. art. II, § 2, cl. 2; Lucia v. SEC, 138 S. Ct. 2044, 2051, 201 L. Ed. 2d 464 (2018).

Alpine Sec. Corp. v. Fin. Indus. Reg. Auth. No. 23-5129, 2023 U.S. App. LEXIS 16987, *5 D.C.

Circuit, (2023).

       Alpine is crucial as it eviscerates FINRA’s use of its own hearing officers in the same

context as the SEC’s Administrative Law Judges (ALJ’s). 11The Alpine court didn’t distinguish

FINRA hearing officers as being any different from the SEC’s ALJ’s. FINRA's hearing officers

are near carbon copies of those ALJs. They are tasked by statute with enforcing the nation's

securities laws. 15 U.S.C § 78s(g)(1). They can "levy sanctions that carry the force of federal

law."Turbeville v. FINRA, 874 F.3d 1268, 1270 (11th Cir.2017) (citing 15 U.S.C. § 78o-3(b)(7)).

And like Lucia's ALJs, hearing officers demand testimony, rule on motions, regulate the course

of a hearing, decide the admissibility of evidence, and enforce compliance with discovery orders

by punishing contempt. See FINRA Rules 8210 (Provision of Information and Testimony), 9252

(Requests for Information), 9235 (Hearing Officer Authority), 9263 (Evidence Admissibility),

9280 (Contemptuous Conduct). In other words, if the ALJs in Lucia exercised “significant"




       11
            What of FINRA’s “arbitrators” too, Traudt asks?
                                                                                                  11
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 12 of 32




executive power, then FINRA hearing officers probably do too. Lucia, 138 S. Ct. at 2051.

Alpine, *6, *7.

        More importantly, Alpine zeroed in on the reality that FINRA hearing officers have

multiple barriers to removal – and as Traudt asserts, the evidence is compelling that it’s the

entire regulatory operation that is FINRA that is suffused with such unconstitutional delegation.

        The Alpine court continued: Despite seeming to exercise the executive authority of the

United States, FINRA hearing officers remain private employees. That presents two

constitutional issues that will benefit from "full briefing, oral argument, and our usual extensive

internal deliberations." Merrill v. Milligan, 142 S. Ct. 879, 879 (2022) (Kavanaugh, J.,

concurring). First, FINRA hearing officers are not appointed by a government body pursuant to

the Appointments Clause. See Lucia, 138 S. Ct. at 2051. Second, they are shielded from removal

by the SEC except for cause. 15 U.S.C. § 78s(h)(4). And the Supreme Court has assumed that the

President may not remove SEC Commissioners at will. Free Enterprise Fund v. Public Company

Accounting Oversight Board, 561 U.S. 477, 487, 130 S. Ct. 3138, 177 L. Ed. 2d 706(2010). That

means that there are two layers of removal protection—one for the Commissioners and one for

the hearing officers. That may well infringe on the President's "ability to execute the laws . . . by

holding his subordinates accountable for their conduct." Id. At 496. Alpine, *8. The Alpine court

closes with a stark disapproval of FINRA’s hearing officers exercising significant executive

power: There is a serious argument that FINRA hearing officers exercise significant executive

power. And it is undisputed that they do not act under the President. That may be a constitutional

problem. (emphasis added). See U.S. Const. art. II, § 1, cl. 1; id. art. II, § 2, cl. 2. Alpine, *9.

What does this say about FINRA’s President, Robert Cook, and the FINRA Board of Directors

chosen exclusively from the largest financial institutions in the country? And what of FINRA’s



                                                                                                       12
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 13 of 32




Uniform Practice Committee – talk about an innocuous misnaming – seizing the property of

65,000+/- 10,000 Americans in MMTLP with a trading halt that still, 636 days later, has never

been justified.12

        Prior to Alpine, US Supreme Court Justice Alito in his concurrence in Department of

Transportation v. Association of American Railroads 575 U.S. 43 pulled no punches with regards

to delegation of government authority: [E]ven the United States accepts that Congress “cannot

delegate regulatory authority to a private entity.” 721 F. 3d, at 670. Indeed, Congress, vested

with enumerated “legislative Powers,” Art. I, §1, cannot delegate its “exclusively legislative”

authority at all. Wayman v. Southard, 10 Wheat. 1, 42–43 (1825) (Marshall, C. J.). The Court has

invalidated statutes for that very reason. See A. L. A. Schechter Poultry Corp. v. United

States;295 U. S. 495 (1935); Panama Refining Co. v. Ryan,293 U. S. 388 (1935); see

also Mistretta v. United States,488 U. S. 361,373, n.7 (1989) (citing, inter alia, Industrial Union

Dept., AFL–CIO v. American Petroleum Institute,448 U. S. 607,646 (1980)).13

        Alito continued:

        The principle that Congress cannot delegate away its vested powers exists to protect

liberty. Our Constitution, by careful design, prescribes a process for making law, and within that

process there are many accountability checkpoints. See INS v. Chadha, 462 U. S. 919,959

(1983). It would dash the whole scheme if Congress could give its power away to an entity that

is not constrained by those checkpoints. The Constitution’s deliberative process was viewed by

the Framers as a valuable feature, see, e.g., Manning, Lawmaking Made Easy, 10 Green Bag 2d




        12
           Surely the “had enough of this crap” crew of Hannah and the assault rifle wielding
        crazies at Lexington would see FINRA and the other alphabet agencies as British crown
        operatives, no more, no less.
        13
           Amer. Assoc. Railroads, 575 U.S. 43
                                                                                                  13
                Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 14 of 32




202 (2007) (“[B]icameralism and presentment make lawmaking difficult by design” (citing, inter

alia, The Federalist No. 62, p. 378 (J. Madison), and No. 63, at 443–444 (A. Hamilton))), not

something to be lamented and evaded.14

       Alito went all in on the illegitimacy of private corporations exercising government

functions: When it comes to private entities, however, there is not even a fig leaf of

constitutional justification. (emphasis added) Private entities are not vested with “legislative

Powers.” Art. I, §1. Nor are they vested with the “executive Power,” Art. II, §1, cl. 1, which

belongs to the President. By any measure, handing off regulatory power to a private entity is

“legislative delegation in its most obnoxious form.” Carter v. Carter Coal Co.,298 U. S. 238,

311 (1936).15

       Applied to Traudt, the parallels couldn’t be more obvious: unelected, unappointed

bureaucrats used their positions to issue a trading halt in a security thus effectively executing a

theft of property upon 65,000 investors in MMTLP. None of the FINRA officers on the FINRA

BOD or the Uniform Practice Code (UPC) committee that ordered the U3 halt in MMTLP were

US government officials, yet they exercised utterly stratospheric levels of executive authority by

unilaterally stripping 65,000 Americans of their investments.

       And FINRA is self-supporting from its investments and fees, which makes it even more

unaccountable. The power of the purse by Congress is always the final control on an agencies’

conduct in the Executive Branch; the 5th Circuit most recently weighed in on this in Consumers

Rsch. Cause Based Commerce, Inc. v. Federal Communications Commission No. 22-60008, 5th

Cir. (2024) holding [F]inally, the breadth of § 254's delegation is especially troubling because




       14
            Id., Concurrence of Judge Alito
       15
            Id., Concurrence of Judge Alito
                                                                                                      14
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 15 of 32




the statute insulates FCC from the principal tool Congress has to control FCC's universal service

decisions—the appropriations power. See U.S. Const. art. I, § 9, cl. 7 ("No Money shall be

drawn from the Treasury, but in Consequence of Appropriations made by Law."). Ordinarily,

when Congress delegates broadly, it retains a residuum of control over agency action because the

agency is powerless to act without a congressional appropriation of funds. See CFPB v. All Am.

Check Cashing, Inc., 33 F.4th 218, 232 (5th Cir. 2022).

       Where Alpine’s analysis stops at FINRA hearing officers and by extension other

executive officers of FINRA, both Biden v. Nebraska 143 S. Ct. 2355 (2023) and Loper come in.

IV.    “Major questions” and the death of “(Chevron) deference” meet FINRA in the wild

       FINRA’s house of cards on absolute immunity collapses into the gravity well of the two

core rules at the center of Traudt that are easily within the crosshairs of both Biden and Loper.

FINRA Rule 203(b)(2) states: A market maker engaged in bona fide market making activities is

exempt from the locate requirement of this paragraph with respect to short sales in the course of

bona fide market making activities in the security for which it is registered as a market maker,

provided that the short sale is not for the purpose of deceiving or creating a false appearance of

active trading in any security." (underline added)

FINRA Rule 6440(a)(3) states: "FINRA may impose a U3 trading halt where there is

uncertainty in the marketplace for the security due to regulatory concerns, pending corporate

actions, or other extraordinary events that could cause significant uncertainty in the market for

the security."(underline added)

       Both of these rules have no grounding in legislative action directing such a broad power.

In the former, to enable GTS and other market makers to print Carl Sagan numbers of

computerized, fully artificial shares of a security (“naked shorts”) and be able to loan these out in



                                                                                                    15
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 16 of 32




debt-equity swaps to hedge funds with only the proviso that the market maker can’t use them to

manipulate the markets (when in fact the only purpose a hedge fund or broker-dealer would

undertake such a deal would be to utterly destroy the share price of a security) is horrifically

unconstitutional. As mentioned in Traudt’s 1st Amended Complaint, this is the zenith of “trust

me bro” and is unconstitutional for ambiguity and unenforceability.16 Traudt maintains this

happened with MMTLP for the benefit of the market maker (GTS) and the hedge funds or

brokers who sold it short. This level of horsepower in rule making clearly was proscribed by

Article II.

        The major questions doctrine, reinforced by Biden, requires clear congressional

authorization for significant regulatory actions. FINRA’s authority to issue U3 trading halts

under the vague term "extraordinary circumstances" lacks explicit statutory backing.

        In Biden, the court evaluated a plan by President Biden to authorize the Secretary of

Education to forgive nearly $430 billion in student loan debt. The court balked:

         The Secretary also appeals to congressional purpose, arguing that Congress intended "to

grant substantial discretion to the Secretary to respond to unforeseen emergencies." On this view,

the unprecedented nature of the Secretary's debt cancellation plan is justified by the pandemic's



        16
          See TRAUDT’S MOTION FOR AN EVIDENTIARY HEARING UNDER FRCP
        43(C) § 6: FINRA Fraud VP Sam Draddy states under oath that “20. Electronic Blue
        Sheet data does not contain information about whether or how a short position was
        covered or whether a short sale is “naked.” Though Traudt disputes this, it doesn’t
        matter: FINRA here is “hoist on its own petard” legally speaking; if Draddy is truthful
        here then FINRA has no data tracking to hold market makers accountable under
        203(B)(2), thereby sealing its fate as not just ambiguous but unenforceable and violative
        of SEC Rule 10B-5 in that it is a manipulative practice de consillio. If Traudt is correct,
        FINRA has the means to track short sales – even nakeds – but has chosen not to. That’s
        worse. Either way, 203(b)(2) needs to be stricken by this court as unconstitutional.




                                                                                                   16
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 17 of 32




unparalleled scope. But the question here is not whether something should be done; it is who has

the authority to do it. As in the Court's recent decision in West Virginia v. EPA, given the

" 'history and the breadth of the authority' " asserted by the Executive and the " 'economic and

political significance' of that assertion," the Court has " 'reason to hesitate before concluding that

Congress' meant to confer such authority." 597 U. S. ___, ___ (quoting FDA v. Brown &

Williamson Tobacco Corp., 529 U. S. 120, 159-160).

       The court was no less enthusiastic about the usurpation of power by a bureaucracy:

       All this leads the Court to conclude that "[t]he basic and consequential tradeoffs" inherent

in a mass debt cancellation program "are ones that Congress would likely have intended for

itself." West Virginia, 597 U. S., at ___ (No. 20-150) (2022). In such circumstances, the Court

has required the Secretary to "point to 'clear congressional authorization' " to justify the

challenged program. Id., at ___, ___ (quoting Utility Air Regulatory Group v. EPA, 573 U. S.

302, 324). And as explained, the HEROES Act provides no authorization for the Secretary's plan

when examined using the ordinary tools of statutory interpretation--let alone "clear congressional

authorization" for such a program. Pp. 19-25.

       Applied to Traudt, FINRA’s Rule 6440(A)(3) allowing for FINRA to unilaterally stop

trading of a stock and to do so claiming unexplained, unelucidated “extraordinary

circumstances” forced their hand is the height of Biden and West Virginia “major questions”

jurisprudence; 65,000 Americans in MMTLP were affected by the U3 halt.17 More importantly,

the U3 halt is an economic nuclear weapon that can be used now anytime a stock – let’s take the



       17
          As Traudt documents in his 1st Amended Complaint, orders were being placed and
       accepted by brokers such that share values over a broad range from $300 (approximately)
       to over $25,000 per share were accepted and onscreen Bloomberg videos show it going
       quickly from the hundreds of dollars into the thousands; this puts the true extent of the
       MMTLP fiasco at over $330 billion being taken from MMTLP holders.
                                                                                                    17
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 18 of 32




Gamestop (ticker “GME”) for example – that is a favorite for the small investors who have

bought it would pose a “short squeeze” threat to the apex predators like Citadel, GTS, Jane

Street, Virtu. If the arguments here fail, one can count on FINRA blowing away GME with a

permanent U3 halt to protect the country club crowd that have the FINRA UPC Board

permanently in their pockets.

       But this U3 analysis inevitably circles back to the market maker exemption §203(b)(2) if

not just for its breadth, its enforceability, and scope, but because the horror of an Education

Secretary stroking a signature and writing off $430 billion (Biden) is simply not even in the same

ball park as the economic firepower market makers like Defendant Ari Rubenstein

(“Rubenstein”) and the Tyrannosaurus Rex of the apex predators (Ken Griffin – Citadel

Securities - “Griffin”) possess and use regularly.18 Combined with the other computer systems19




       18
          Way back in 2008, Robert J. Shapiro, former undersecretary of commerce for
       economic affairs, and a consultant to a law firm suing over naked shorting, claimed that
       naked short selling had cost investors $100 billion and driven 1,000 companies into the
       ground. See: http://www.time.com/time/magazine/article/0%2C9171%2C1126706-
       3%2C00.html
       19
          High-Frequency Trading (HFT) Algorithms operate by executing a large number of
       orders at extremely fast speeds, often within milliseconds. Market makers use
       sophisticated algorithms and physical proximity to exchanges to gain speed advantages.
       The potential for abuse comes from HFT exploiting microsecond differences in price
       movements, which makes it difficult for retail investors to compete. Techniques like
       quote stuffing, where the market is flooded with fake orders, and front-running, where
       market makers trade ahead of large orders, can manipulate the market and create artificial
       price movements.
       Payment for Order Flow (PFOF) systems allow market makers to pay brokers to route
       retail orders to them for execution. This setup gives market makers the advantage of
       seeing orders before they are executed. The potential for abuse lies in situations where
       market makers may prioritize their profits over obtaining the best execution price for
       retail investors. By trading against the flow of incoming orders, they can extract profits
       from knowing about transactions in advance.
       Dark Pools are private exchanges where large institutional trades can be made
       anonymously, without affecting the public market. Market makers with access to dark
       pools can execute trades in these private venues without retail investors seeing price
                                                                                                  18
             Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 19 of 32




weaponized by the market makers and broker-dealers against small investors like Traudt, there is

a perfect storm of major questions doctrine tripwires detonating constitutional claymore mines

throughout the entire Traudt case and by reference the entire US stock market regulatory scheme

not just with FINRA but the SEC too.20

       In short, the two major FINRA rules are unconstitutional, at the very least. (Traudt also

addresses this without waiving his constitutional arguments here by filing with this court on 19

July 2024 his WRIT OF MANDAMUS to reopen trading in MMTLP in the USA for the two

days as approved in the Corporate Action initially approved by FINRA.)

V.     SEC v. Jarkesy No. 22-859 (US Supreme Court 2024): what’s good for the goose is
       good for the gander.

       Traudt argues that the US Supreme Court’s determination in Jarkesy that somebody being

pursued by the SEC for what amounts to common law fraud is to be afforded a jury trial in US

District Court in keeping with the 7th Amendment right to civil trials, then Traudt is entitled to

one pursuing a private corporation under the same standard: FINRA is being pursued for



       movements. This can lead to front-running or manipulative pricing, where market makers
       take advantage of the lack of transparency to profit at the expense of small investors.
       Order Routing and Internalization occurs when market makers and large firms route
       orders to internal systems instead of public exchanges, allowing them to match trades
       within their own books. The potential for abuse arises when market makers internalize
       orders, meaning they execute trades within their own systems at prices that may not
       reflect the best available market price. This practice can lead to worse outcomes for
       smaller investors.
       Algorithmic Market Making involves market makers using algorithms to provide liquidity
       and manage large volumes of orders across multiple exchanges. These algorithms adjust
       prices or hedge positions in real-time based on market data. The potential for abuse
       comes when these sophisticated algorithms are used to manipulate bid-ask spreads,
       making it more expensive for small investors to buy or sell securities. Market makers can
       also engage in predatory trading, deliberately driving down prices to trigger stop-loss
       orders from small investors, allowing them to buy shares at lower prices.
       20
         The M18A1 claymore mine is a command detonated anti-personnel munition used by
       the US military since the Vietnam War.
                                                                                                     19
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 20 of 32




common law fraud inter alia and 18 USCS 1961 Racketeer Influenced and Corrupt Organization

(“RICO”) claims. The SEC argued stridently against this, but the Supreme Court thought

otherwise:

       The foregoing from Granfinanciera already does away with much of the SEC's argument.

Congress cannot “conjure away the Seventh Amendment by mandating that traditional legal

claims be taken to an administrative tribunal.” 492 U.S. at 52, 109 S.Ct. 2782. Nor does the fact

that the SEC action “originate[d] in a newly fashioned regulatory scheme” permit Congress to

siphon this action away from an Article III court. Ibid. The constructive fraud claim in

Granfinanciera was also statutory, see id., at 37, 109 S.Ct. 2782, but we nevertheless explained

that the public rights exception did not apply. Again, if the action resembles a traditional legal

claim, its statutory origins are not dispositive. See id., at 52, 56, 109 S.Ct. 2782. Jarkesy §4.

       More interestingly, the exact case cited as on point by FINRA in its claim of absolute

immunity (here extracted from their memorandum in opposition to Traudt’s Preserve motion)

does nothing of the sort, anyway; in Standard Inv. Chartered, Inc. v. National Ass’n of Securities

Dealers, Inc., 637 F. 3d 112, 116 (2d Cir. 2011) the 2nd Circuit held that [W]e have cautioned

that the doctrine "is of a rare and exceptional character," Barrett v. United States, 798 F.2d 565,

571 (2d Cir. 1986) (internal quotation marks omitted), and courts must examine the invocation of

absolute immunity on a case by case basis, DL Capital Group, 409 F.3d at 97. The party

asserting immunity bears the burden of demonstrating its entitlement. D'Alessio, 258 F.3d at 104.

We apply a functional test to determine whether an SRO is entitled to immunity based upon the

facts before us, see NYSE Specialists, 503 F.3d at 96, which requires us to look at "the nature of

the function performed, not the identity of the actor who performed it," Forrester v. White, 484

U.S. 219, 229, 108 S.Ct. 538, 98 L.Ed.2d 555 (1988). Standard Invst., § 115.



                                                                                                     20
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 21 of 32




       Traudt supplied 80+ pages of evidence of the fraud in his Preserve motion. Clearly,

Traudt’s fallback position is that this meets the standard set in Standard Invst., if nothing else.


VI.    The Blue Sheet Data needs to be obtained under seal and stored at this court for in
       camera review


Traudt dispatches FINRA’s arguments against the bluesheets release as follows:

       1. The costs are non-existent to FINRA as they have already been produced.

       2. FINRA submitted Draddy’s affidavit, and it needs to be cross-examined otherwise

            Traudt is at a disadvantage in the evidentiary hearing he has filed a motion for.

            (Traudt here argues that any evidentiary hearing must have a de minima production of

            the bluesheets Draddy identified as being “pulled” by him on 5 December 2022.)

       3. There can be no claim of privilege if the bluesheets provided are sterilized and only

            report aggregates as requested by Traudt in long positions, short positions, and naked

            synthetics cranked out in celestial numbers by GTS and other market makers.

       4. Traudt contends that nothing exceeds like excess and the evidence of FINRA rule

            breaking, data insanity, fraudulent responses to Congress, contradictions, and the

            evidence of data corruption in Preserve and Motion for an Evidentiary Hearing

            Pursant to FRCP Rule 43(c) (incorporated here by reference) calls for immediate

            production of that laser focused limited discovery. Traudt is not on a “fishing

            expedition” – yet.21

       Traudt’s request for expedited limited discovery comes early in this case, no doubt, but
       such expeditious timing is necessitated by the time-sensitive nature of preliminary


       21
         Traudt works as a commercial fisherman, and was in fact once a crewman aboard F/V
       Persistence, one of the fishing vessels (“F/Vs”) owned by Relentless, Inc., which was a
       plaintiff in Loper. As mentioned in the 1st Amended Complaint, Traudt may seek leave of
       the court to work and go on a real “fishing expedition” shortly.
                                                                                                      21
             Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 22 of 32




       injunction proceedings. As the district court in Ellsworth Assocs., Inc. v. United States,
       917 F. Supp. 841 (D.D.C. 1996), stressed,“[e]xpedited discovery is particularly
       appropriate when a plaintiff seeks injunctive relief because of the expedited nature of
       injunctive proceedings.” Id. at 844 (citing Optic–Electronic Corp. v. United States, 683 F.
       Supp. 269, 271 (D.D.C. 1987), and Onan Corp. v. United States, 476 F. Supp. 428, 434
       (D. Minn. 1979)). See also ALARIS Grp., Inc. v. Disability Mgmt. Network, Ltd., No. 12-
       cv-446, 2012 WL 13029504, at *2 (D. Minn. May 30, 2012) (quoting Ellsworth Assocs.,
       Inc., 917 F. Supp. at 844) (stating “[e]xpedited discovery is particularly appropriate when
       a plaintiff seeks injunctive relief because of the expedited nature of injunctive
       proceedings”). Accordingly, “courts have routinely granted expedited discovery in cases
       involving challenges to constitutionality of government action.” Id.

       Expedited discovery to provide the Court with the details necessary to craft an injunction

tailored to prevent the irreparable harm caused by FINRA’s continuing ultra vires and

unconstitutional conduct is accordingly eminently justified under the “good cause” standard.

Traudt relies on St. Louis Grp., Inc., 275 F.R.D. at 239 (S.D. Tex. 2011) (stressing “courts have

granted expedited discovery requests when there is some showing of irreparable harm that can be

addressed by limited, expedited discovery”). See also BKGTH Prods., LLC v. Does 1–20, No.

13-cv-5310, 2013 Case 6:23-cv-00609-JDK Document 13 Filed 02/07/24 Page 14 of 20 PageID

#: 5977 WL 5507297, at *5 (E.D. La. Sept. 30, 2013) (accord).

VII.   Granting FINRA absolute immunity and denying Traudt access to economic
       documents used to cause him et. al. economic harm and disadvantage violates his 9th
       Amendment economic civil rights

       “The enumeration in the Constitution, of certain rights, shall not be construed to deny or
       disparage others retained by the people.” US Constitution, 9th Amendment.

       Traudt closes out his reply memorandum here by putting forth, based on the economic

exigencies of the day, the rapid rate of technological evolution prejudicing the common man in

his right to enterprise and property and economic well-being, the obvious suffocation of his

economic opportunities and economic security by multi-national corporations beyond the control

of the US government or deterior res under the control of multi-national corporations, that there




                                                                                                22
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 23 of 32




is contained within the penumbra of rights held by American citizens to be one of economic

right. Traudt looks to Griswold v. Connecticut 381 U.S. 479 (1965) to assert this.

       The U.S. Constitution implicitly recognizes economic liberty through several key

provisions that protect property rights and freedom of contract, supporting Traudt’s argument

that economic rights are substantive. The Commerce Clause, found in Article I, Section 8, grants

Congress the power to regulate commerce with foreign nations and among the several states,

acknowledging the right of individuals to engage in commerce and participate in economic

activities across state lines. The Contract Clause, in Article I, Section 10, prohibits states from

passing any law impairing the obligation of contracts, securing the right of individuals to enter

into and enforce contracts, which is central to economic liberty. The Takings Clause of the Fifth

Amendment reinforces this by stating that private property cannot be taken for public use

without just compensation, ensuring that property rights, a fundamental aspect of economic

autonomy, are protected. Finally, the Due Process Clauses of the Fifth and Fourteenth

Amendments safeguard against deprivation of life, liberty, or property without due process of

law, which courts have historically interpreted to include substantive economic rights such as the

right to contract freely and engage in one’s chosen occupation. These constitutional protections

collectively support the argument that economic liberty is a substantive right, deeply intertwined

with individual freedom and autonomy.

       The Founding Fathers could not have perceived the wildly uneven playing field that

constitutes the supposed capitalist structure of our economy, and Adam Smith would have heart

palpitations seeing how the “unseen hand of the market” has been instead subordinated and

rendered virtually immaterial by the financial system apex predators who, with just a few




                                                                                                      23
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 24 of 32




keystrokes, can utterly obliterate investments and entire companies across massive swaths of

America’s citizenry.

       Traudt has a separate and distinct cause of action against defendants that, for lack of

better terminology, best attempts to level the playing field when the forces of high finance,

government regulatory capture (as is the case incontrovertibly with FINRA and to some extent

the SEC) and powerful stock market participants combine si non consillio usu to suppress other

conventional options for the redress of grievances for those of us considered to be a part of the

“unwashed mob” with the poor judgement to expect freedom and fairness play any role in Wall

Street’s carnival of corruption.22

       So Traudt stands before this court knowing several motions to dismiss have or will be

filed and a motion to put him in arbitration is on the record. No matter. Traudt contends that he

should have leave to amend his 1st Amended Complaint by right anyway down the line, and he

believes he should be able to bring a distinct cause of action for an “economic Bivens action”

such that the standards employed in evidence in criminal trials is the standard when a regulatory

or government action amounts to a takings under the 5th Amendment.23

       Traudt posits that given the complexity of government and private computerized systems

used to track and maintain securities trading systems, and the various ways in which these can be

weaponized against the average American market participant (See Footnote 17, above), nothing

less than an economic Bivens action for damages will address the modern industrialized,

digitalized, speed-of-light transactional nature of the modern securities markets. The SEC rarely



       22
          One only has to look at the incredibly high bar in securities fraud pleadings needing to
       survive 12(B)(6) motions and the fact that RICO civil cases cannot be brought if they
       involve securities fraud (ostensibly, though Traudt aims to change that) and the ground is
       fertile for some broken field constitutional running.
       23
          See Bivens v. Six Unknown Federal Narcotics Agents 403 U.S. 388 (1971)
                                                                                                    24
              Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 25 of 32




prosecutes criminally and instead looks at wrist slaps as even SEC/DOJ prosecutors admit

securities fraud is hard to prove “beyond a reasonable doubt.” Fines do not deter. Having an

economic Bivens action available for those harmed with criminal discovery standards applied

might be what the US markets need to clean up the corruption.

       And the discovery standard would be Brady v. Maryland 373 U.S. 83 (1963), tweaked so

that the Brady mandate (law enforcement cannot suppress evidence favorable to anyone accused

of a crime because it violates due process) is morphed in an “economic civil rights action.”

Traudt contends a re-imagining of Brady via Bivens would provide that any time there is a

federal government action (even with private parties doing the government’s bidding) depriving

someone of their property, money, securities, or right of enterprise, all documents or data

favorable to the aggrieved party associated with that decision should be res ex necessitate

disclosed to the parties injured.

       For all of the foregoing, Traudt requests oral argument on this motion and:

           1. Find FINRA Rule 203(b)(2) unconstitutional.

           2. Find FINRA Rule 6440(a)(3) unconstitutional.

           3. Issue a permanent injunction against both FINRA and the SEC banning any

               implementation of any rule similar to Rule 203(b)(2), basically ending any and all

               naked short selling in the US markets.

           4. Issue a temporary injunction against FINRA and the SEC on Rule 6440(a)(3) until

               its terms are constitutionally defined with specificity by Act of Congress and its

               timelines are also so defined.




                                                                                                    25
Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 26 of 32
     Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 27 of 32




FINRA Atty. John P. Mitchell, Faegre, Drinker, Biddle & Reath LLP 105 College Road
East 105 College Road East, POB 627 Princeton NJ 08542-0627

Schwab Atty. Justin Barnard, Dinse P.C. 209 Battery St., Burlington VT 05401

Schwab Atty. Anne B. Rosenblum, Dinse P.C. 209 Battery St., Burlington VT 05401

Schwab Atty. Felipe Escobedo, Morgan, Lewis & Bockius LLP One federal St., Boston
MA 02110-1726

Schwab Atty. Jeff Goldman Morgan, Lewis & Bockius LLP One federal St., Boston MA
02110-1726

SEC Atty. Mike Bailey 100 F Street, NE Washington, D.C. 20549




                                                                                  27
Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 28 of 32
Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 29 of 32
Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 30 of 32
Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 31 of 32
Case 2:24-cv-00782-cr Document 36 Filed 09/05/24 Page 32 of 32
